                Case 2:21-cv-01705-SKV Document 61 Filed 11/27/23 Page 1 of 18




 1                                                             The Honorable S. Kate Vaughan
 2

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 5

 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                    SEATTLE DIVISION
 8

 9 TSR LLC,                                            Case No.: 2:21-cv-01705-SKV

10                                Plaintiff,           DECLARATION OF JUSTIN LANASA
                                                       IN SUPPORT OF COUNTERCLAIM
11         v.                                          DEFENDANTS’ RESPONSE TO
                                                       DEFENDANT AND COUNTERCLAIM
12 WIZARDS OF THE COAST LLC,                           PLAINTIFF’S MOTION TO ENFORCE
                                                       THE PROTECTIVE ORDER
13
                                  Defendant.           GOVERNING CONDUCT
14

15 WIZARDS OF THE COAST LLC,

16                 Counterclaim Plaintiff,

17         v.
18 TSR LLC; JUSTIN LANASA; and DUNGEON
   HOBBY SHOP MUSEUM LLC,
19
              Counterclaim Defendants.
20

21          I, Justin LaNasa, declare as follows:

22          1.      I am the registered owner of TSR LLC (“TSR”) and the Dungeon Hobby Shop

23 Museum LLC (the “Museum”). In this declaration, I will refer to Don Semora and his company,

24 Wizard Tower Games, collectively as “Mr. Semora.” I have personal knowledge of the facts set

25 forth herein based on my recollection and review of contemporaneous communications, and if

26 called as a witness, I could and would testify under oath to the matters set forth herein.
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 1          2.      Despite    Wizards’     accusation   and    suggestion,    I   do      not       have         the

 2 www.donosemora.com website registered to me nor is the website within my control.

 3          3.      The Museum and I have obeyed the Protective Order and intend to continue to do

 4 so until the case is finally finished.
 5          4.      Neither the Museum nor I use the handle “Anonymous member” on social media

 6 or otherwise. Neither the Museum nor I own or control an “Anonymous member” Facebook

 7 account.

 8          5.      I have read the “Anonymousemail” that states, in part: “This is not Justin or anyone

 9 else who knows him.” This email was not written by me personally or on behalf of the Museum.

10 Neither the Museum nor I have ever used an “Anonymousemail” account. I have also reviewed
11 Exhibit B to Ms. Rainwater’s declaration and believe the references to “me” or “I” are those of

12 Mr. Semora. I am not “Vance K. Yarg” and I do not control the Vance K. Yarg Facebook account

13 referenced in Exhibit B.

14          6.      When the Museum or I want to post on social media or communicate, we each do

15 so in an open, honest, and direct way by using our own names, email accounts registered to us, our

16 known handles, or our own social media accounts that identify us openly.

17          7.      I (on behalf of myself, TSR, and the Museum) welcomed the Court’s entry of a

18 Protective Order over all involved in the litigation, including third party witnesses, to bring respect

19 to the litigation process. I hoped the stipulated order would protect me from harassment that I

20 have suffered.

21          8.      In the many months that I have communicated with Mr. Semora, I have never

22 intended to negatively influence Mr. Semora as a witness and instead, I welcome his participation

23 in the litigation as a witness subject to the evidence rules and under penalty of perjury.

24          9.      There is a Facebook group called “Star Frontiers New Genesis discussion group

25 (unofficial)” (https://www.facebook.com/groups/296148055926417/) and other Facebook groups

26 or pages where Mr. Semora regularly posts comments and content aimed at harassing, insulting,
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 1 and attempting to intimidate me. Below are some examples of lewd and harassing posts by Mr.

 2 Semora.

 3
           Thomas Verreault Jr
 4
           Erik Tenkar did post here so I deleted my post and Ill add my comment here:
           I was named in an anonymous email- nothing new except that this email lacks the
 5
           fingerprints of Justin Lanasa. I wish it was because the IP address of the email is
 6         discoverable by court order and th is wou ld mean Justin j ust screwed up big t ime by
           contacting the person he is suing. o the grammar and syntax point to a lackey and co-
 7         conspirator of Justin's, his very own Wormtongue and Koolade dribbler that betrayed
           Don Semora, Eric Tenkar, and myself after professing friendship and "having our back".
 8         How do I know he is a Koolade dribbler - his statement about being on the right side of
           history.
 9         Hey, Wromtongue you can wipe the Koo lade off your ch in but that will do nothing for
           the stain of the red dye all over your lips and face.
10         10h

11               Michael Brendan
                 Thomas Verreau lt Jr
12

13
14

15

16

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18

19
20
                 Sh

21               Don Semora
                 Thomas Verreau lt Jr fuck him he is a coward, him and Lanasa can give each other
22               hand j obs while researching how to make games properly.

23 / / /

24 / / /

25 / / /

26 / / /
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 1
              lw

 2            Don Semora
              Dinehart after a meeting with Lanasa
 3

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10
              lw
11
              Charles Urbach
              Th is is ridiculous revisionist history, easily disproven with the tiniest effort at fact
12
              find ing. Aside from the obvious butt kissing, I'm fi lled with wondering about what the
              actual goal is here. Is it j ust general flattery and bs posturing or is this part of a bigger
13
              attempt to somehow capita lize on the situation. A lot of what Dinehart has done the
              last few months feels like an attempt to set something up with the pieces leftover from
14
              TSR's fall. I also wonder how much of this he believes personally or if it's an extension of
15            the TSR grift. I don't know how anyone following the details of the lawsuits and related
              actions by Mario and company cou ld take a single word of this seriously.
16            lw
                                                                                                           0 :) 6
                      Michael Brendan replied • 5 Replies
17
              Jack McNaughton
18            If Justin is bankrupted and obliterated by the lawsuit, isn't that j ust good karma? I mean,
              th is is j ust evil little bridge trolls getting what they deserve at the end of the day, right?
19
20 / / /

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                           Star Frontiers New Genesis discussion group (unofficial)
 2
                           ff t \..,IIU.> I l l I.II\., l1VIJUJ•

 3
                           16h

 4                         ~            Jason Ezra replied • 6 Replies

 5

 6

 7          Oh lets not fo rget when I confronted Just in Lanasa on Dave Johnsons
            nazi posts. What was his response .. Well you all wonder why I ca lled
 8          him Der Fuhrer.

 9             .........                                                                           '-
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19                         r/:J Like                               CJ Comment                                 ~ Share

20          View 7 previous comments

21                         Brain Liberius

22
                           The King of Grifts and Grits!
                                                                              ..
                           lh

23                         Joe Stash
                           This is t he t hing I don't get. It's all about 'Murica with
24                         these azis.

25                         You can 't have it both ways.
                           47m
26
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 1         10.    Mr. Semora posted on Facebook days ago that suggests that he his tracking my

 2 business dealings and suggesting to the public that my business is not properly formed and

 3 somehow engaging in illegal activities.

 4
                    Don Semora
 5
                ' 2d ·0
 6
           Another business of Lanasa's. His ema il is listed as the email contact.
 7         Seems pot is a business he is also into. o lie filed, but the name is
           reserved for fi ling. I plan to ensure proper people kno
 8
           https://     .facebookcom/happyacresnc
 9

10         Happy Acres NC
           Th ·s ·s the Facebook page for Happy Acres        C.
11

12          0      13                                                                       70

13
                    r/:J Like                CJ Comment               ~ Share
14
           View more comments
15

16                  Lainie Gentry
                    It's CBD hemp. Legal in all 50 states.
17
                    2d
18
                    Ed Liberatore
19                  I'm sure the only happy thing about those acres ... is the
                    name.
20
                    1d
21

22

23   ///

24   ///

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26   ///
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 1         11.    Mr. Semora regularly posts content on Facebook and participates in videos on

 2 YouTube that discuss the disputes between us, the pending case in Washington, and the pending

 3 bankruptcy of TSR in North Carolina.

 4                Star Frontiers New Genesis discussion group (unofficial)

 5                 [I_J UKe               1.,,.J Lommem            w :>nare
 6
                   Thomas Verreault Jr
 7                 l d ·0
            There is a moral to Justin's story.
 8          He COULD have gotten away wit h so much of what he pulled.
            The moral is t his if you are going to pu ll shenanigans don't go around
 9          pissing in everyone's Wheaties- it makes people very happy to see to it
            that you don't get away with you r BS.
10          The dumbass has brought down on his own head everything that is
            headed his way.
11

12

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14

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16
                              'l'h@
                                                   ~

                                      Ba1tkr61pit Wizards
                                                          BW ,za.nbs


17                           "We Make ~ k disappearl"
18

19                      24                                                          90

20                 rfJ Like               CJ Comment               ~ Share

21           View 5 previous comments

22                 Tanner Augier
                   hahahahahahaha
23                 ld                 0
                   Don Semora
24                 He is a two legged lying, crawling piece of shit. I cannot
                   wait for my day in court aga inst him.
25                                                                      0       3
                   ld

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13         1S9 views Suumed live on J i n 17. 2023
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           We're 901ng to find out about 91.l'Ns 1n dt\'t loped ind M's cor:nn ed to inswer q •st10 s r•lated to 1.-gal iss1.es ....


14         Transcript
           ~low aiong using tM transcript.

15           Show transcript



16                       Tabletop Taproom
                         611 $U scnbfi-s

17                                I!] V"odeos                                                   {8J Abeut

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19               https://www.youtube.com/watch?v=zFAcfV-l7lE

20               January 17, 2023, 161 views

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19         35Comments

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21         https://www.youtube.com/watch?v=L522B3F5B3s

22         August 29, 2023, 265 views

23         Discussion regarding Mr. Semora using Wizards’ counsel for his own personal issues is at

24 time stamp 21:56 to 24:05.

25 / / /

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 1
                  Star Frontiers New Genesis discussion group (unofficial)
 2                Don Semora • November 9 at 12:25 PM • 0

 3         I was attacked by Lanasa on several serious levels this week, and want to let people know in case
           he is trying to spread t his to others. I will be going live at 9:00 EST with this.
 4
 5

 6

 7

 8

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10
11

12

13
           YOUTUBE.COM
14         Attacked by Lanasa Again
           Stolen valor, Trying to ruin Wizard Con
15

16
           o·.· .   10                                                                               2 comments

                         rfJ like                       Q Comment                       ~ Share
17

18         https://www.youtube.com/watch?v=nd-SYkBMHSU&t=1846s

19         November 9, 2023, 338 views

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12
           35 1 views streamed 3 months ago
13         We'll be discussing -rhe Secret Cabal· wrth receipts

           Check out the Tavern News Network of like-minded Gaming Vlogt;iers: Tenkar's Tavern: httpsJ/tenkarstavern .substack .corr ...more

14

15             https://www.youtube.com/watch?v=s0eOe9KQ_SI

16             July 28, 2023, 352 views

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 1
                              Star Frontiers New Genesis discussion group (unoffi'dal)
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             l » . i n . : 1 1 ~ ~ Eb.SI. AAillillr...... , . . . . .,..,,........          tltill

 6           ....,,_,4.,_...,._ ,,u •,.                         ._.__., ,u,


 7                 •       • David Flor
                                 l d ·0
 8
                  And ifs official... Due to NuTSR filing tor bankruptcy, the case w ith
 9                WotC is stayed and all dates striken from the schedu le.
10                It's the case that never ends ...

11
              0 "7
12

13
                                                r/:J Like                                                           CJ Comment
14           View 5 previous comments

15                              Lori Ly,e
                                By t ili ng Chapter 7, he's made a huge mistake. Now
16
                                everyone can plumb the depths o f his personal f inances.
17                              It also requires him to liquidate everything to pay off his
                                cred itors, wh ich includes his properties, his home, his
18                              vehicles. and empty his bank ... See more
19                              1d          Edited

20                              Don Semora
                                Keep in mind wh at th is Stay does. It only puts the case on
21                              ho ld. It only stops those he lists as cred itors from trying
22                              to co llect, harass him etc. It do es not prevent those he
                                has not listed in co llecting, nor does it cease the existing
23                              orders of the court
24                              1d

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 1

 2
           So Justin fi les a Affidavit in Federal Court saying he never even met me unt il mid October of 2021 .
 3         As with everything with t hat guy it is simply lies. So here is well.. ... Proof he lied .

 4          he guy along wit h his cronie Dave, lied to a Federal Court j udge in a sworn Affidavit. Seems I met
           him earlier.... a LOT earlier....
 5
                     Justin LaNasa
                                                                                             .. __ ..                ...            0




                                                                                                          . .. .
 6

 7                                                                                                                             .,

 8

 9                       Justin LaNasa
                               Faceboo                                              - . - - , ..... -   ...... IM#llllll-

10                    You're t fr nds on Fa ebook
                        1 mutual friend : Erol Otus

11                            1 20    :T


                 What's price on books
12
                                              I
                         J                  AM
13
                             Hello, good morning. Yes I got a
14
                                                                                                           4 comments
15
                       r/:J Like                        Q Comment                             ~ Share
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 1

 2         Don Semora
           To clarify as I am the arget of Justins BS. WOTC has a court order barring Lanasa or his
 3         cronies from engaging in a acks agains me and Hovermale. Lanasa and his Cronies
           seem to think fi ling Bankruptcy means he is free to do as he pleases.
 4         WOTC disag rees and has done so wi h full receipts. It will be up o the j udge bu I think
           Justin has miscalculated here. I am confident WOTC will ge his deal with properly.
 5
           Hope o see everyone Monday in Court. Its a zoom call and I think it is public.
 6         18w   Like    Reply    Share
                                                                                                ():) 12
                 TK Kennedy
 7               Don Semora I hink firstly what he and his ilk has does is deplorable and I hope
                 the judge sides with not allowing a delay of the WoTC case. Secondly I can hear
 8               the screams now of how his fi rs amendmen rights are being violated (which they
                 are not)
 9                                                                                                   02
                 18w     Like    Reply    Share

10               Pauli Kidd
                 Don Semora I sure hope you can somehow save some highligh s! This should be
11               epic.
                 Hey - you know, i bet the Freemasons wou ld kick someone out if they heard they
12               were doing the sort of crap la asa is doing. It would sure be a shame if they
                 found ou ...
13                                                                                                ()j s
                 18w     Like    Reply    Share

14                       George Loki Williams
                         Pauli Kidd Beat me o i ! Do his!
15                       18w     Like    Reply    Share   0 2
16         Erik Hawley
           I love it when we get the he fffind out" phase of he HF around and find ou " process!
17         18w   Like    Reply    Share     Edited                                          0 :> 11


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 1

 2
                  Jayson Elliot
 3                ld · 0
 4         Wizards' lawyers wou ld probably be interested to see that Justin and
           his buddies are still claiming that they're the "original home of
 5         Dungeons & Dragons."
 6         https://www.facebook .com/wfdgames/posts
 7         /pfbid028NC7LSCpgJ9SpB48tcDqPcmR8AWiyi3ZVSEoQeEmhFQP6rKv
           PXuK7hj1W2yU7Ss5I
 8

 9
             II This content isn 't available right now
                  When this happens, it's usually because the owner only shared it with a
10                small group of people, changed who can see it or it's been deleted.

11            0     9                                                                   24 CJ
12
                  r/:J Like               CJ Comment                    f!;> Share
13
14         View 3 previous comments

15                 Don Semora
                  They have one of the best Bankruptcy legal fi rms in the
16                Country handling th is now. I am sure they are all over and
17                a lot more.
                   1d
18
                   Ed Liberatore
19                 "It's not only a keen, spring-fed resort town ..."
20                Another thought: Who says "keen" unironica lly in 2023,
                  outside of reruns of 'Leave It To Beaver'?
21
                   12h     Edited
22

23 / / /

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 1         12.     The above examples collected by me are just a few of the nearly constant taunts,

 2 harassing content, threats, and provocative content posted by Mr. Semora against me, the Museum,

 3 and TSR. In addition to Mr. Semora's direct posts, he also regularly comments upon the public

 4 posts and videos posted by others to further taunt, harass, and threaten me and my companies. If

 5 requested by the Court, I will testify to or provide proof of this additional content.

 6 I HEREBY DECLARE THAT THE ABOVE STATEMENT IS TRUE TO THE BEST OF MY
     KNOWLEDGE AND BELIEF, AND THAT I UNDERSTAND IT IS MADE FOR USE AS
 7
     EVIDENCE IN COURT AND IS SUBJECT TO PENALTY FOR PERJURY.
8           DATED November 27, 2023, at New Hanover County, North Carolina.
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     DECLARATION OF JUSTIN LANASA IN SUPPORT OF RESPONSE TO                        Immix Law Group PC
     MOTION TO ENFORCE THE PROTECTIVE ORDER GOVERNING                             400 Winslow Way E. Suite 210
                                                                                  Bainbridge Island, WA 981 I 0
     CONDUCT Page 17                                                              Phone: (503) 802-5533
                                                                                  Facsimile: (503) 802-5351
            Case 2:21-cv-01705-SKV Document 61 Filed 11/27/23 Page 18 of 18




 1                                  CERTIFICATE OF SERVICE

 2         I hereby certify that on November 27, 2023, I caused to be served a true copy of the

 3 foregoing DECLARATION OF JUSTIN LANASA IN SUPPORT OF COUNTERCLAIM

 4 DEFENDANTS’ RESPONSE TO DEFENDANT AND COUNTERCLAIM PLAINTIFF’S
 5 MOTION TO ENFORCE THE PROTECTIVE ORDER GOVERNING CONDUCT on the

 6 party or attorneys listed below, by email:

 7   Lauren B. Rainwater                              Russell D. Nugent
     MaryAnn T. Almeida                               THE HUMPHRIES LAW FIRM P.C.
 8   Tyler Bourke                                     1904 Eastwood Rd, Ste 310A
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                                                      LLC, Justin LaNasa, and Dungeon Hobby
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     Plaintiff Wizards of the Coast LLC
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                                                   f)jt----
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                                                TSR LLC and Counterclaim Defendants Justin
22                                              LaNasa and Dungeon Hobby Shop Museum LLC
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24

25

26
     CERTIFICATE OF SERVICE - Page 1                                          Immix Law Group PC
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